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                        Exhibit
                          A
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                                                                                               USOO830.9881B2


(12) United States Patent                                                 (10) Patent No.:                     US 8,309,881 B2
       Li                                                                 (45) Date of Patent:                           Nov. 13, 2012
(54) PORTABLE ENGRAVING SYSTEM                                                5,275,098   A * 1/1994 Larson .......................... 101.123
                                                                              5,672.285   A * 9/1997 Kondo et al.                      219,121.78
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(76) Inventor: Tong Li, Haslett, MI (US)                                      6,388,228   B1* 5/2002 Lai .................          ... 219,121.6
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(*) Notice:         Subject to any disclaimer, the term of this               6.424,670   B1* 7/2002 Sukhman et al. ............. 372/107
                    patent is extended or adjusted under 35                   6,855,911   B1* 2/2005 Lai ........................... 219,121.86
                    U.S.C. 154(b) by 428 days.                                6,881,924   B2 * 4/2005 Lai ........................... 219,121.67
                                                                              7,652,225 B2 *      1/2010 Fazeny ..................... 219,121.72
                                                                        2005/0205537 A1*          9, 2005 Penz et al. ............... 219,121.72
(21) Appl. No.: 12/727,347                                              2009/0223944 A1*          9, 2009 Sukhman et al. ........ 219,121.84
                                                                        2010/0213180 A1*          8, 2010 Miller ...................... 219,121.69
(22) Filed:         Mar 19, 2010                                       * cited by examiner
(65)                   Prior Publication Data                          Primary Examiner — Jarrett Stark
        US 2011 FO174789 A1         Jul. 21, 2011                      (74) Attorney, Agent, or Firm — Paparella & Associates, PC;
                                                                       Joseph A. Paparella
            Related U.S. Application Data                              (57)                        ABSTRACT
(60) Provisional application No. 61/296.931, filed on Jan.             A portable engraving system comprises an enclosure adapted
        21, 2010.                                                      to operably accommodate an engraving device, wherein the
                                                                       enclosure comprises an adjustment system. The adjustment
(51) Int. Cl.                                                          system comprises one or more adjustable devices, and the
        B23K 26/00              (2006.01)                              adjustable devices are adapted to adjust a distance between
(52) U.S. Cl. ........................ 219/121.68; 219/82: 83/861      the enclosure and a work Surface thereby allowing adjustment
(58) Field of Classification Search ............. 219/121.68,          of the distance between the enclosure and the work surface,
                                              219/121.82: 83/861       whereby the enclosure is adjustable with respect to the work
     See application file for complete search history.                 Surface. The enclosure further comprises an opening wherein
                                                                       the engraving device is operably positioned thereto, whereby
(56)                   References Cited                                the work Surface is accessible to the engraving device there
                                                                       through. The enclosure is positionable adjacent the work
                U.S. PATENT DOCUMENTS                                  Surface and operably disposed thereto.
       4,985,780 A *    1/1991 Garnier et al. ........... 219,121.68
       5,262,612 A * 1 1/1993 Momany et al. ......... 219,121.67                      49 Claims, 11 Drawing Sheets
                                                                         10
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                                               Fig.2
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                                                Fig. 4
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                                    Fig.5
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                                                       US 8,309,881 B2
                               1.                                                                    2
           PORTABLE ENGRAVING SYSTEM                                     ment system comprises one or more adjustable devices,
                                                                         wherein the adjustable devices are adapted to adjust a dis
           CROSS REFERENCE TO RELATED                                    tance between the enclosure and a work surface of a work
                   APPLICATION                                           piece thereby allowing adjustment of the distance between
                                                                         the enclosure and the work surface whereby the enclosure is
   This application claims the benefit of the filing date of U.S.        adjustable with respect to the work surface. The enclosure
provisional application Ser. No. 61/296.931 entitled “POR                further comprises an opening wherein the engraving device is
TABLE ENGRAVING SYSTEM which was filed on Jan.                           operably positioned thereto, and whereby the work surface is
21, 2010 and which is herein incorporated by reference.                  accessible to the engraving device therethrough. Also
                                                                    10
           BACKGROUND OF THE INVENTION
                                                                         included is a portable base comprising an exhaust vent,
                                                                         wherein the base is adapted to removably receive the portable
  The present invention relates to engraving systems, and                enclosure and further is adapted to retain the work piece,
more particularly to portable engraving systems and methods              wherein when the enclosure is removably positioned on the
thereof.                                                            15   base, the enclosure is disposed adjacent the work Surface.
   Present engraving systems typically include an enclosed                  In another aspect of the present invention, a portable
interior work area. As such, and to be compatible with an                engraving system comprises a portable enclosure which is
engraving system, a workpiece must be small enough and of                adapted to operably accommodate an engraving device. The
a specific shape to fit within the enclosed work area of the             enclosure further comprises an adjustment system, wherein
engraving system. This limits the engraving system to a small            the adjustment system comprises one or more adjustable
amount of potential work pieces.                                         devices, and the adjustable devices are adapted to adjust a
   While larger engraving systems have been developed to                 space between the enclosure and a work Surface of a work
overcome this problem, thereby allowing for larger work                  piece, thereby allowing adjustment of the space between the
pieces to be utilized, these larger engraving systems are typi           enclosure and the first work surface whereby the enclosure is
cally fixed, non-portable, or not easily moved. Further, these      25   adjustable with respect to the work surface. The enclosure
stationary systems are unable to be moved relative to the work           further comprises an opening wherein the engraving device is
piece.                                                                   operably positioned thereto, whereby the work surface is
   Additionally, these prior art systems require adequate                accessible to the engraving device therethrough. Also pro
preparation of the workpiece in order to properly position the           vided is a portable cart which is adapted to removably receive
workpiece relative to the engraving device. As such, the work       30   the portable enclosure, wherein the cart is adapted to be
piece must be manually manipulated Such that the engraved                positionable over the work piece and positions the enclosure
surface is positioned a fixed distance from the engraving                adjacent the work surface.
device, the distance being set by the requirements of the                   And still in another aspect of the present invention, a por
specific engraving device. This manual manipulation or set               table laser engraving system comprises a portable enclosure
up of the work piece requires additional time and expense, as       35   which is adapted to operably accommodate a laser engraving
well as the expertise of an experienced operator.                        device. The enclosure comprises an adjustment system which
   Accordingly, a need exists for novel systems and methods              is adapted to adjust a space between the enclosure and a work
which have, among other advantages: the ability to accom                 surface of a work piece thereby allowing adjustment of the
modate a wide variety (i.e., shapes, sizes, materials, and               space between the enclosure and the first work surface. The
weights) of work pieces; the ability to be easily moved from        40   enclosure is adjustable with respect to the work surface and
one location to another; and the ability to reduce the expertise         the adjustment system comprises four independently adjust
required for operation. Therefore, an engraving system that              able worm drives. The enclosure further comprises an open
Solves the aforementioned disadvantages and having the                   ing wherein the engraving device is operably positioned
aforementioned advantage is desired.                                     thereto, whereby the work surface is accessible to the engrav
                                                                    45   ing device therethrough. Also provided is a portable cart
      SUMMARY OF THE PRESENT INVENTION                                   which is adapted to removably receive the portable enclosure,
                                                                         wherein the cart is adapted to be positionable over the work
   The aforementioned drawbacks and disadvantages of these               piece and positions the enclosure adjacent the work Surface.
former engraving systems have been identified and a solution             Further provided is a portable base comprising an exhaust
is set forth herein by the inventive portable engraving system      50   vent, wherein the base is adapted to removably receive the
which comprises an enclosure adapted to operably accommo                 portable enclosure and further adapted to retain the work
date an engraving device, wherein the enclosure comprises an             piece. In this manner, the portable enclosure is adapted to be
adjustment system. The adjustment system comprises one or                disposed on one of the portable cart and the portable base.
more adjustable devices, and the adjustable devices are                     In yet another aspect of the present invention, a portable
adapted to adjust a distance between the enclosure and a work       55   laser engraving system comprises a portable enclosure
surface thereby allowing adjustment of the distance between              adapted to operably accommodate a laser engraving device
the enclosure and the work surface, whereby the enclosure is             wherein the enclosure comprises an adjustment system, the
adjustable with respect to the work surface. The enclosure               adjustment system comprising one or more independently
further comprises an opening wherein the engraving device is             adjustable devices, and the adjustable devices are adapted to
operably positioned thereto, whereby the work surface is            60   independently adjust a distance between the enclosure and a
accessible to the engraving device therethrough. The enclo               work Surface of a workpiece, thereby allowing adjustment of
Sure is positionable adjacent the work Surface and operably              the distance and angle between the enclosure and the work
disposed thereto.                                                        surface, whereby the enclosure is adjustable with respect to
   Another aspect of the present invention includes a portable           the work Surface. The enclosure further comprises an open
engraving system comprising a portable enclosure adapted to         65   ing, wherein the engraving device is operably positioned
operably accommodate an engraving device, wherein the                    thereto, whereby the work surface is accessible to the engrav
enclosure comprises an adjustment system, and the adjust                 ing device therethrough.
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   In still another aspect of the present invention, a portable              Further, the purpose of the Abstract is to enable the United
laser engraving system comprises a portable enclosure which               States Patent and Trademark Office, the public generally, and
is adapted to operably accommodate a laser engraving device.              especially the scientists, engineers, and practitioners in the art
The enclosure comprises an adjustment system, and the                     who are not familiar with patent or legal terms of phraseology,
adjustment system comprises four independently adjustable                 to learn quickly, from a cursory inspection, the nature of the
worm drives, thereby allowing adjustment of the distance and              technical disclosure of the application. Accordingly, the
angle between the enclosure and the work surface, whereby                 Abstract is intended to define neither the invention nor the
the enclosure is adjustable with respect to the work surface.             application, which is only measured by the claims, nor is it
The enclosure further comprises an opening, wherein the              10
                                                                          intended to be limiting as to the scope of the invention in any
engraving device is operably positioned thereto, whereby the                a.
work Surface is accessible to the engraving device there                    These and other objects, along with the various features
through. The enclosure further comprises an exhaust system                and structures that characterize the invention, are pointed out
disposed on a top thereof. Also provided is a portable cart               with particularity in the claims annexed to and forming a part
which is adapted to removably receive the portable enclosure,        15   of this disclosure. For a better understanding of the portable
wherein the cart is adapted to be positionable over the work              engraving system of the present disclosure, its advantages,
piece and positions the enclosure adjacent the work Surface.              and the specific traits attained by its use, reference should be
The cart further comprises an adjustment system comprising                made to the accompanying drawings and other descriptive
one or more vertically adjustable devices, the adjustable                 matter in which there are illustrated and described the pre
devices adapted to adjust a distance between the cart and a               ferred embodiments of the invention.
work Surface. Also provided is a portable base comprising an                 As such, while embodiments of the portable engraving
exhaust vent, wherein the base is adapted to removably                    system are herein illustrated and described, it is to be appre
receive the portable enclosure and further adapted to retain              ciated that various changes, rearrangements, and modifica
the work piece. The portable enclosure is adapted to be dis               tions may be made therein without departing from the scope
posed on one of the portable cart and the portable base.             25   of the invention as defined by the claims.
   Yet still another aspect of the present invention, a portable
engraving system comprises a portable enclosure adapted to                        BRIEF DESCRIPTION OF THE DRAWINGS
operably accommodate an engraving device. the enclosure
further comprises an adjustment system, wherein the adjust                  As a compliment to the description and for better under
ment system comprises one or more adjustable devices dis             30   standing of the specification presented herein, eleven pages of
posed on respective one or more outside Surfaces of the enclo             drawings are disclosed with an informative, but not limiting,
sure. The adjustable devices are adapted to adjust a space                intention.
between the enclosure and a work surface thereby allowing                   FIG. 1 is a perspective view of an embodiment of an enclo
adjustment of the space between the enclosure and the work                Sure of the portable engraving system of the present inven
Surface. The enclosure further comprises an exhaust system           35
                                                                          tion;
and the enclosure is positionable adjacent the work Surface                 FIG. 2 is a perspective view of the enclosure of FIG. 1
and adjustably disposed thereto.                                          disposed on an embodiment of a base of the portable engrav
   Other objects, advantages, and features of the invention
will become apparent upon consideration of the following                  ing system of the present invention;
detailed description and drawings. As such, the above brief          40     FIG. 3 is a perspective view of the base of FIG. 2
descriptions set forth, rather broadly, the more important                  FIG. 4 is a perspective view of the enclosure of FIG. 1
features of the present novel invention so that the detailed              disposed on an embodiment of a cart of the portable engrav
descriptions that follow may be better understood and so that             ing system of the present invention;
the contributions to the art may be better appreciated. There               FIG. 5 is a perspective view of the enclosure of FIG. 1
are of course additional features that will be described here        45   disposed on an alternate embodiment of a cart of the portable
inafter which will form the subject matter of the claims.                 engraving system of the present invention;
   In this respect, before explaining the preferred embodi                  FIG. 6 is a perspective view of the enclosure of FIG. 1
ment of the disclosure in detail, it is to be understood that the         disposed on an embodiment of the cart, in use with the base of
disclosure is not limited in its application to the details of the        the portable engraving system of the present invention;
construction and the arrangement set forth in the following          50     FIG. 7 is a perspective view of another embodiment of an
description or illustrated in the drawings. To wit, the portable          enclosure of the portable engraving system of the present
engraving system of the present disclosure is capable of other            invention;
embodiments and of being practiced and carried out in vari                  FIG. 8 is a perspective view of the enclosure of FIG. 7
ous ways. Also, it is to be understood that the phraseology and           disposed on an alternate embodiment of a cart of the portable
terminology employed herein are for description and not              55   engraving system of the present invention;
limitation. Where specific dimensional and material specifi                 FIG. 9 is a front view of the enclosure and cart of FIG. 8
cations have been included or omitted from the specification              with the enclosure illustrated in a lower position as compared
or the claims, or both, it is to be understood that the same are          to FIG. 8:
not to be incorporated into the claims, unless So claimed.                   FIG. 10 is a perspective view of the enclosure and cart of
   As such, those skilled in the art will appreciate that the        60   FIG. 8, in use with the base of the portable engraving system
conception upon which this disclosure is based may readily                of the present invention;
be used as a basis for designing other structures, methods, and              FIG. 11 is a perspective view of an embodiment of an
systems for carrying out the several purposes of the present              enclosure of the portable engraving system of the present
invention. It is important therefore that the claims are                  invention with a venting system attached thereto;
regarded as including Such equivalent constructions, as far as       65      FIG. 12 is an enlarged fragmentary view of the venting
they do not depart from the spirit and scope of the present               system of FIG. 11, illustrating the venting system being con
invention.                                                                nected to the enclosure;
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                            5                                                                         6
  FIG. 13 is an enlarged fragmentary view of the enclosure             weights) of work pieces; the ability to be easily moved from
with the venting system removed and the vent closed.                   one location to another; and the ability to reduce the expertise
                                                                       required for operation. Therefore, an engraving system that
   DETAILED DESCRIPTION OF THE PREFERRED                               Solves the aforementioned disadvantages and having the
                EMBODIMENT                                             aforementioned advantages is disclosed herein.
                                                                          The disadvantages and drawbacks of the prior art are over
  The best mode for carrying out the invention is presented in         come through the engraving system of the present invention,
terms of the preferred embodiment, wherein similar refer               wherein one preferred embodiment is disclosed in FIG. 1.
enced characters designate corresponding features through              Referring now to FIG. 1, there is shown a portable engraving
out the several figures of the drawings.                          10   system 10 which comprises an enclosure 20 adapted to oper
  For purposes of description herein, the terms “upper,                ably accommodate an engraving device 40. The enclosure 20
“lower”, “right”, “left”, “rear”, “front”, “vertical”, “horizon        comprises an adjustment system 22, and the adjustment sys
tal', and derivatives thereof, shall relate to the invention as        tem 22 includes one or more adjustable devices 24. The
oriented in FIG. 1. However, it is to be understood that the           adjustable devices 24 are adapted to adjust a distance D
invention may assume various alternative orientations, except     15   between the enclosure 20 and a work surface 4 of a workpiece
where expressly specified to the contrary. It is also to be            2, thereby allowing adjustment of the distance between the
understood that the specific devices and processes illustrated         enclosure 20 and the work surface 4, whereby the enclosure
in the attached drawings and described in the following speci          20 is adjustable with respect to the work surface 4. The
fication are exemplary embodiments of the inventive con                enclosure 20 further comprises an opening 26 wherein the
cepts defined in the appended claims. Hence, specific dimen            engraving device 40 is operably positioned thereto, whereby
sions and other physical characteristics relating to the               the work surface 4 is accessible to the engraving device 40
embodiments disclosed herein are not to be considered as               therethrough. The enclosure 20 is portable and therefore posi
limiting, unless the claims expressly state otherwise.                 tionable adjacent the work surface 4 and thereby operably
   Reference will now be made in detail to the present pre             disposed thereto.
ferred embodiments of the invention, examples of which are        25      As illustrated by FIG. 1, enclosure 20 may include an
illustrated in the accompanying drawings. Wherever pos                 opening, door, cover, or other portal 28 for access thereto. For
sible, these same referenced numerals will be used through             example, an articulated cover 28 is illustrated. In one embodi
out the drawings to refer to the same or like parts. Like              ment of the invention, the cover 28 is moveable between a
features between the various embodiments utilize similar               range of from a first closed position to a second open position.
numerical designations. Where appropriate, the various simi       30   When in the first closed position, the cover 28 covers the
lar features have been further differentiated by an alphanu            engraving device 40 and the opening 26 Such that the engrav
meric designation, wherein the corresponding alphabetic des            ing device 40 and the opening 26 are housed within enclosure
ignator has been changed. Further, the dimensions illustrated          20. For example, this may be required before operation of
in the drawings (if provided) are included for purposes of             system 10 can commence; while when in the second open
example only and are not intended to limit the scope of the       35   position, the engraving device 40 and the opening 26 are
present invention. Additionally, particular details in the draw        accessible. The cover 28 may further comprise a window 30
ings which are illustrated in hidden or dashed lines are to be         that may be transparent and visible therethrough whereby the
considered as forming no part of the present invention.                operation of one or more of the elements of system 10 may be
   As used herein, the term portable is meant to be used and           visible therethrough. The cover may be attached or articulated
defined in its general and ordinary sense. To wit, easily or      40   in any known manner.
conveniently moved and transported; able to be used without               Enclosure 20 further comprises opening 26. Opening 26 is
attachment, fastening, or fixation to a surface (e.g., a ground        operably disposed so as to provide engraving device 40 with
Surface); and generally non-permanent.                                 access to work Surface 4, whereby work Surface 4 is acces
   In a broader sense, existing engraving systems typically            sible to engraving device 40 therethrough for engraving
include an enclosed interior work area. As such, to be com        45   therein. Thus, as enclosure 20 is removably positionable adja
patible with an engraving system a work piece must be small            cent work Surface 4, opening 26 may thereby be operably
enough and of a specific shape to fit within the enclosed work         disposed adjacent work Surface 4 Such that engraving device
area of the engraving system. This limits the engraving sys            40 may operate therethrough.
tem to a small amount of potential work pieces.                           Enclosure 20 is adapted to operably accommodate an
   On the other hand, while larger engraving systems have         50   engraving device 40 for operation therein. The engraving
been developed to overcome this problem, thereby allowing              device 40 may comprise any known device for etching,
for larger work pieces to be utilized, these larger engraving          engraving, imprinting, or otherwise marking a surface 4 of a
systems are rigidly (i.e., permanently) affixed to the ground,         workpiece 2. Of course, this is not meant to be limiting in any
are not easily moved, and are therefore not portable. Further,         manner, and the engraving device 40 could also be used for
these stationary systems are unable to be moved relative to the   55   cutting, welding, or otherapplications relative to a workpiece
work piece.                                                            disposed therein or thereunder. With respect to engraving,
   Further, these prior art systems require adequate prepara           these known engraving devices may engrave the work piece
tion of the workpiece before the workpiece can be engraved.            in a number of manners including, interalia: air; water, sand;
This required set-up or work includes manually manipulating            knives; chisels; and lasers. The device described and illus
the work piece such that the engraved Surface is positioned a     60   trated herein may utilize a laser engraving device. For
fixed distance from the engraving device. This manual                  example a CO2 (carbon dioxide) or a NdYAG (neodymium
manipulation or set-up of the work piece requires additional           doped yttrium aluminium garnet; Nd:Y3Al5O12) laser. Of
time and expenses, as well as the expertise of an experienced          course, this is not meant to be limiting in any manner and
operator.                                                              numerous other engraving devices may also be used. Further,
  Accordingly, a need exists for novel systems and methods        65   the engraving device 40 may be adjustable to allow for adjust
which have, among other advantages: the ability to accom               ment of the distance between the engraving device and the
modate a wide variety (i.e., shapes, sizes, materials, and             work surface 4.
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   Adjustment system 22 may comprise one or more adjust                 holders 68 which are adapted to receive the one or more
able devices 24 which are adapted to adjust a distance D (e.g.,         pedestals 36 of enclosure 20A.
a height) between the enclosure 20 and a first work surface 4              FIG. 4 illustrates another embodiment 10B, including an
thereby allowing for independent adjustment of the distance             enclosure 20B which may be removably disposed on a por
between enclosure 20 and the work surface 4 such that the               table cart 80. The portable cart 80 may be adapted to remov
enclosure is adjustable with respect to the work surface. In            ably receive the enclosure 20B, wherein the cart 80 is adapted
one preferred embodiment, four vertically adjustable worm               to be positionable over the work piece 2 and positions the
gears are positioned at 4 diagonally opposed positions (for             enclosure 20B adjacent the work surface 4. Portable cart 80
example, the four corners of an otherwise rectangular enclo             may include horizontal frame components 84 and vertical
sure), with adjustment controls 32 disposed and otherwise          10   frame components 86. Cart 80 may also include a plurality of
accessible from a top surface 34. In this embodiment, the four          pedestals, base, or feet 88. In one embodiment, pedestals 88
adjustable devices are independently adjustable to adjust the           comprise wheels.
distance D between the enclosure and the work surface. In this
                                                                           Enclosure 20B may be removably disposed on cart 80,
                                                                        allowing workpiece 2 to be positioned on a floor Surface, cart,
manner, the height of enclosure 20 may be adjusted according       15   or other platform Such that work Surface 4 is adjacent opening
to the particular requirements of the engraving device 40 and           26 of the enclosure. This may be accomplished, for example,
the work surface 4, while also allowing adjustment of the               by disposing the workpiece on a Support Surface, moving cart
angle A between the work surface 4 and the enclosure 20. In             80 thereabove, and adjusting enclosure 20B thereto. In this
this manner, the enclosure 20 can be adjusted to a uniform              manner, enclosure 20B is removably positioned adjacent
fixed distance (D) from a work Surface that is angled (e.g.,            (e.g., above) work Surface 4 and the engraving operation may
other than flat or horizontal) without the manual leveling of           commence. Further, due to the portability of cart 80 and the
the work Surface that is required by existing systems. In this          enclosure 20B, the combined system is easily transportable
embodiment, the adjustable devices 24 may also comprise a               and movable both within a particular location, as well as
pedestal, base, or feet 36 which may be fixed or allow for              therebetween. In one embodiment, cart 80 further comprises
movement (e.g., wheels), and a worm body or gear 38. The           25   one or more holders (not shown) which are adapted to
base 36 may be adapted to be disposed on the work surface 4,            received the one or more pedestals 36 of enclosure 20B.
or an appropriate base or Support (e.g., a floor Surface, a base          Further, as illustrated in FIG. 5, an embodiment 10C is
60, and a cart 80), or in any other manner wherein work                 illustrated and comprises an adjustable cart 80C which
Surface 4 is accessible to the engraving device 40 through the          includes one or more adjustment devices 90 which allow for
opening 26. In this particular embodiment, the adjustment          30   the adjustment of the height and angle of enclosure 20O
control 32 may be moved, rotationally, causing the worm                 relative to the workpiece. In this embodiment, the combina
body 38 to rotate, thereby varying the distance D between the           tion of portable and adjustable cart 80C, and portable and
work surface 4 and enclosure 20. Each of the one or more                adjustable enclosure 20O, allows for engraving over a work
adjustment devices 24 may be operated in this manner to                 piece 2 having an irregular or angled Surface. In this manner,
allow for the proper spacing (D) as well as the proper angle       35   the height of enclosure 20O may be adjusted according to the
(A) therebetween.                                                       particular requirements of the engraving device 40C and the
   Of course, adjustment system 22 may comprise any known               work Surface 4, while also allowing adjustment of the angle A
adjustment device or system and further, may be manually                between the work surface 4 and the enclosure 200. In this
configured or automatically adjusted as is known in the art.            manner, the enclosure 20O can be adjusted to a uniform fixed
Further, any number of adjustment devices may be used              40   distance (D) from a work Surface that is angled (e.g., other
depending on the specifics of the enclosure 20 (e.g., three             than horizontal) without the manual leveling of the work
equidistant and radially oriented adjustment devices could be           Surface that is required by existing systems.
used on a circular enclosure in order to adjust the distance D            As illustrated in FIG. 6, an embodiment 10D is shown and
and the angle A).                                                       may include an enclosure 2.0D, a base 60D, and a cart 80D as
   FIG. 2 illustrates another embodiment 10A, including an         45   described herein above. In this configuration, all of the advan
enclosure 20A which may be removably disposed on a por                  tages of enclosure 2.0D, base 60D, and cart 80D can be com
table base 60. Base 60 may further comprise an exhaust                  bined into a single portable and interchangeable system. For
system 62, a workpiece platform, base, or holder 64 which is            example, by positioning the work piece 2 (disposed on the
adapted to retain work piece 2, and one or more pedestals,              ground or a cart 100) underneath portable cart 80D, the
base, or feet 66. Exhaust system 62 may comprise any known         50   engraving operation may commence with the benefit of the
exhaust system which allows for the removal of fumes and                venting provided by base 60D. Alternatively, the work piece
debris which are generated during the engraving operation,              2 may be disposed directly on base 60D.
and which are to be removed or otherwise exhausted from the               Illustrated in FIG. 7 is an alternate embodiment of the
system 10A. Exhaust system 62 may be, for example, housed               enclosure 10E. In this embodiment the adjustment system 22
within the base 60. In one embodiment, base 60 includes four       55   comprises one or more adjustable devices 24' which are dis
pedestals 66 which allow for movement of the base, and may              posed outside of enclosure 20E. By positioning the one or
comprise, for example, wheels.                                          more adjustable devices 24' outside of the enclosure, the one
  As illustrated in FIG. 3, enclosure 20A may be removably              or more pedestals 36' are no longer constrained or restricted in
disposed on base 60, whereby the work piece 2 is positioned             adjustment by a bottom surface 35 of enclosure 20E. To wit,
on platform 64 Such that work Surface 4 is adjacent opening        60   in this embodiment the enclosure may be adjusted so that the
26 of the enclosure. In this manner, enclosure 20A is remov             bottom surface 35 is below the pedestals 36', thereby allowing
ably positioned adjacent (e.g., above) work Surface 4 and the           for yet further adjustability.
engraving operation may commence. Further, due to the port                FIG. 8 illustrates the alternate embodiment 10E wherein
ability of base 60 and enclosure 20A, the combined system is            the enclosure 20E may be disposed on an alternate embodi
easily transportable and movable both within a particular          65   ment of a cart 80E. In this configuration, the enclosure 20E
location, as well as between locations. In the embodiment               may be disposed such that the bottom surface 35 of the enclo
illustrated by FIG. 3, base 60 further comprises one or more            sure may be adjusted to be lower than (e.g., below) feet 36' of
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adjustment devices 24'. In this manner, the enclosure 20E, and           example, when the enclosure 20F is used alone or with cart
more particularly bottom surface 35, is infinitely positionable          80, the vent system 120 allows the system 10F to be vented for
between a range of from, above a top surface 82 of cart 80E,             optimal operation.
to a distance D1 (FIG.9) below feet 36". As such, bottom 35                 FIG. 12 illustrates that the vent system 120 may be dis
of enclosure 20E is able to be disposed directly adjacent to a           posed within the cover 28F, for example in window 30 and
surface 6. For example, as illustrated in FIG. 9, the bottom             further, may be removable therefrom. In this configuration, a
surface 35 of enclosure 20E may be lowered to a surface 6                vent 122 is provided in window 30 and may further comprise
which may be the floor upon which the cart 80E resides. Still            an adapter 123. Adapter 123 is configured to removably con
further yet, if the particular end user requirements dictate, the        nect to adapter 124. This removable connection may com
bottom surface 35 could be lowered to a position below sur          10   prise any known method. For example only, as illustrated, the
face 6, and for example only, into a pit or other surface below          removable connection may comprise a screw or “twist and
the floor Surface. Accordingly, the engraving system of the              lock” style connection. In this manner, and when desired, an
present invention is operable upon a work piece 2 that is                external venting source may be connected to the enclosure
disposed above, on, or even below a floor surface. Further, the          20F for venting the dust and debris generated during the
engraving system may be operably positioned to engrave the          15   engraving process. As best illustrated in FIG. 13, again as
floor Surface itself. Although not illustrated, the engraving            desired, the external venting source may be disconnected
device 40 may also be adjustable within the enclosure (e.g.,             from the enclosure 20F and sealed or capped through the use
height adjustable) in any known manner.                                  of a cap or top 128, when venting is not desired or unavailable.
   Also illustrated in FIGS. 8-9 are cart adjustment devices             Of course, an external venting source may be remotely con
90' which, for example only, may comprise worm gears.                    nected to vent 122 through the hose 126 or, it is envisioned
Although these adjustment devices 90' may be manually                    that a powered vent may be directly and removable connected
operated, in the illustrated example the devices are operably            to vent adapter 123, wherein the powered vent would have a
connected to one or more motors 92 for automated adjust                  similar mating and removable connection.
ment. The automated adjustment of adjustment devices 90'                    Enclosure 20, base 60, and cart 80 may be used individu
may be controlled for example, from one or more controllers         25   ally or in any combination with one another to perform as
disposed within enclosure 20E. In this manner, the controller            described herein. For example only, and in a non-limiting
within enclosure 20E may be connected (in any known man                  manner: enclosure 20 and base 60 may be used together to
ner) to cart 80E whereby the one or more controllers operably            achieve a portable engraving system having venting capabil
adjust motors 92, thereby adjusting enclosure 20E for proper             ity; alternatively, enclosure 20 and cart 80 may be utilized to
operational height. Of course, the adjustment devices 24' of        30   engrave a large work piece or a work piece having irregular
the enclosure 20E may also be motorized and automated in a               features, without requiring the customary manipulation of the
similar manner, thereby allowing the enclosure 20E and the               work piece that is now necessary: Still further, enclosure 20
cart 80E to be controlled and operably adjusted by the one or            comprising the vent system, used with or without cart 80 may
more controllers.                                                        be used to achieve a portable engraving system having vent
  FIG. 10 illustrates the enclosure 2.0E and cart 80E of FIG.       35   ing capability; additionally, enclosure 20, base 60, and cart 80
9 used in conjunction with the base 60 as described herein               can be used together in order to achieve all of the benefits
above. In this configuration, and for example only, the plat             described herein.
form 64 of base 60 is also adjustable (e.g., in height) and                 Advantageously, a novel portable engraving system has
further, is also adapted to be operably connected to the one or          been invented that can be used on-site or off-site; the system
more controllers of enclosure 20E, whereby the controller           40   can accommodate Small or large work pieces; and the system
acts to adjust the platform 64 according the particular require          has the ability to engrave unusual work pieces such as floors,
ments of the work piece. Further, when used in conjunction               ceilings, large and Small monuments, even monuments that
with cart 80E, the same controller may be connected to                   have been previously erected (e.g., the system can be trans
motors 92 for operable adjustment thereof. As such, the one or           ported to the site of the monument, attached to the monument
more controllers of enclosure 20E may be connected to and           45   in any known manner and in any location thereon, and engrav
adjust, either alone or in any combination thereof, the enclo            ing can thereby be achieved).
sure 20E, the cart 80E, and the base 60, thereby arriving at a              The solutions offered by the invention disclosed herein
fully adjustable system with maximum adjustability and flex              have thus been attained in an economical, practical, and facile
ibility. In this manner the same controller can be utilized to           manner. To wit, a novel engraving system which is portable,
adjust the platform 64, the adjustment devices 90', and the         50   versatile, cost effective, and easily used has been invented.
adjustment devices 24' (if so equipped) according to the par             While preferred embodiments and example configurations of
ticular requirements of the end user. Of course, the system              the inventions have been herein illustrated, shown, and
may also be configured to be connectable to each of the                  described, it is to be appreciated that various changes, rear
described systems, separately. For example, a connector may              rangements, and modifications may be made therein, without
be provided such that the same connector may be used to             55   departing from the scope of the invention as defined by the
connect either the cart 80E when used, or the base 60 when               claims. It is intended that the specific embodiments and con
used. In this manner, the enclosure is able to be disposed on            figurations disclosed herein are illustrative of the preferred
either system, connected thereto, and is fully adjustable via            and best modes for practicing the invention, and should not be
the controller in the enclosure in a simple “plug and play”              interpreted as limitations on the scope of the invention as
manner (e.g., without requiring additional manual configura         60   defined by the claims, and it is to be appreciated that various
tion).                                                                   changes, rearrangements, and modifications may be made
   FIG. 11 illustrates yet another embodiment 10F of a por               therein, without departing from the scope of the invention as
table enclosure 20F which includes a vent system 120. Vent               defined by the claims.
system 120 may further comprise a vent 122, an adapter 124,                The invention claimed is:
and a hose 126 which may be connected to an externally              65     1. A portable engraving system comprising:
powered venting source. In this manner, the system 10F                     an enclosure adapted to operably accommodate an engrav
allows for venting from a top surface 34. As such, for                        ing device;
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  the enclosure comprising an adjustment system, the adjust                 between the enclosure and the work surface whereby the
     ment system comprising one or more adjustable devices,                 enclosure is adjustable with respect to the work surface;
     the adjustable devices adapted to adjust a distance                  the enclosure further comprising an opening, wherein the
     between the enclosure and a work surface thereby allow                 engraving device is operably positioned thereto,
     ing adjustment of the distance between the enclosure                   whereby the work Surface is accessible to the engraving
     and the work surface, whereby the enclosure is adjust                  device therethrough;
     able with respect to the work surface;                               a portable base comprising an exhaust system, the base
  the enclosure further comprising an opening, wherein the                  adapted to removably receive the portable enclosure and
     engraving device is operably positioned thereto,                       further comprising a holder adapted to retain the work
     whereby the work Surface is accessible to the engraving       10       piece;
     device therethrough; and                                             wherein when the enclosure is removably positioned on the
  wherein the enclosure is positionable adjacent the work                   base, the enclosure is disposed adjacent the holder.
     Surface and operably disposed thereto.                               16. The portable engraving system of claim 15, wherein:
  2. The portable engraving system of claim 1, wherein:                   the adjustment system is adapted to adjust a height of the
  the one or more adjustable devices further comprise a distal     15        enclosure.
     end, and are operably disposed on the enclosure so as to             17. The portable engraving system of claim 15, wherein:
     allow a bottom surface of the enclosure to extend below              the adjustment system is adapted to adjust an angle of the
     the distal end of the one or more adjustable devices.                   enclosure.
  3. The portable engraving system of claim 1, wherein:                   18. The portable engraving system of claim 15, wherein:
  the adjustment system is adapted to adjust a height of the              the adjustment system comprises at least two adjustable
     enclosure.                                                              devices, thereby allowing adjustment of the distance and
  4. The portable engraving system of claim 1, wherein:                      an angle between the enclosure and the work Surface.
  the adjustment system is adapted to adjust an angle of the              19. The portable engraving system of claim 15, wherein:
     enclosure.                                                           the engraving device comprises a laser.
  5. The portable engraving system of claim 1, wherein:            25     20. The portable engraving system of claim 15, wherein:
  the adjustment system comprises at least three adjustable               the enclosure comprises an exhaust system.
     devices, thereby allowing adjustment of the distance and             21. The portable engraving system of claim 15, further
     angle between the enclosure and the work Surface at                comprising:
     each of the at least three adjustable devices.                       a portable cart adapted to be disposed adjacent the work
  6. The portable engraving system of claim 1, wherein:            30        piece.
  the adjustment system comprises four independently                      22. The portable engraving system of claim 21, wherein:
     adjustable worm drives, thereby allowing adjustment of               the portable cart is adapted to removably receive the enclo
     the distance and angle between the enclosure and the                    sure, wherein the cart is adapted to be positionable over
     work Surface.                                                           the work piece and positions the enclosure adjacent the
   7. The portable engraving system of claim 1, wherein:           35        work Surface.
   the engraving device comprises a laser.                                23. The portable engraving system of claim 22, wherein:
   8. The portable engraving system of claim 1, wherein:                  the cart comprises a second adjustment system, the second
   the enclosure further comprises an exhaust system.                       adjustment system comprising one or more adjustable
   9. The portable engraving system of claim 8, wherein:                    devices, the adjustable devices adapted to adjust a dis
   the exhaust system is disposed on a top of the enclosure.       40        tance between the enclosure and the work surface.
   10. The portable engraving system of claim 1, further com              24. A portable engraving system comprising:
prising:                                                                  a portable enclosure adapted to operably accommodate an
   a portable base, the base adapted to retain the work surface.             engraving device;
   11. The portable engraving system of claim 10, the base                the enclosure comprising an adjustment system, the adjust
further comprising:                                                45        ment system comprising one or more adjustable devices,
   an exhaust system.                                                        the adjustable devices adapted to adjust a space between
   12. The portable engraving system of claim 10, wherein:                   the enclosure and a work surface of a workpiece thereby
   the base is adapted to removably receive the enclosure.                   allowing adjustment of the space between the enclosure
   13. The portable engraving system of claim 1, further com                 and the work surface;
prising:                                                           50     the enclosure further comprising an opening, wherein the
   a portable cart adapted to receive the enclosure;                         engraving device is operably positioned thereto,
   wherein the portable cart is adapted to be positionable over              whereby the work Surface is accessible to the engraving
      the work Surface and positions the enclosure adjacent                  device therethrough; and
     the work surface.                                                    a portable cart adapted to removably receive the portable
  14. The portable engraving system of claim 13, wherein:          55        enclosure, wherein the cart is adapted to be positionable
  the cart comprises a second adjustment system, the second                  over the work piece and positions the enclosure adjacent
    adjustment system comprising one or more adjustable                      the work surface.
    devices, the adjustable devices adapted to adjust a dis               25. The portable engraving system of claim 24, wherein:
     tance between the enclosure and the work surface.                    the adjustment system comprises four independently
  15. A portable engraving system comprising:                      60       adjustable worm drives, thereby allowing adjustment of
  a portable enclosure adapted to operably accommodate an                   the distance and an angle between the enclosure and the
     engraving device;                                                       work Surface.
  the enclosure comprising an adjustment system, the adjust               26. The portable engraving system of claim 24, wherein:
     ment system comprising one or more adjustable devices,               the enclosure comprises an exhaust system.
     the adjustable devices adapted to adjust a distance           65     27. The portable engraving system of claim 24, further
     between the enclosure and a work surface of a work                 comprising:
     piece thereby allowing adjustment of the distance                    a portable base, the base adapted to retain the work piece.
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   28. The portable engraving system of claim 27, the base              the enclosure further comprising an opening, wherein the
further comprising:                                                       engraving device is operably positioned thereto,
   an exhaust system.                                                     whereby the work Surface is accessible to the engraving
   29. The portable engraving system of claim 28, wherein:                device therethrough.
   the base is adapted to removably receive the enclosure.       5      39. The portable engraving system of claim 38, wherein:
   30. The portable engraving system of claim 24, wherein:              the adjustment system comprises four independently
   the cart comprises a second adjustment system, the second              adjustable worm drives, thereby allowing adjustment of
     adjustment system comprising one or more adjustable                  the distance and angle between the enclosure and the
     devices, the adjustable devices adapted to adjust a dis     10
                                                                           work Surface.
    tance between the cart and the work surface.                        40. The portable engraving system of claim 39, wherein:
  31. A portable laser engraving system comprising:                     the enclosure comprises an exhaust system.
  a portable enclosure adapted to operably accommodate a                41. The portable engraving system of claim 38, further
     laser engraving device;                                          comprising:
  the enclosure comprising an adjustment system, the adjust      15     a portable cart adapted to receive the enclosure, wherein
     ment system adapted to adjust a space between the                     the cart is adapted to be positionable over the workpiece
     enclosure and a work surface of a work piece thereby                  and positions the enclosure relative to the work Surface.
     allowing adjustment of the space between the enclosure             42. The portable engraving system of claim 41, wherein:
     and the work surface;                                              the cart comprises a second adjustment system, the second
  the enclosure further comprising an opening, wherein the                 adjustment system comprising one or more vertically
     engraving device is operably positioned thereto,                      adjustable devices, the adjustable devices adapted to
     whereby the work Surface is accessible to the engraving               adjust a distance between the enclosure and the work
     device therethrough:                                                  Surface.
  a portable cart adapted to removably receive the portable             43. The portable engraving system of claim 38, further
     enclosure, wherein the cart is adapted to be positionable   25   comprising:
     over the work piece and positions the enclosure adjacent           a portable base, the base further comprising an exhaust
    the work surface; and                                                  system, wherein the base is adapted to removably
  a portable base comprising an exhaust vent, the base                     receive the enclosure.
    adapted to removably receive the portable enclosure and             44. A portable laser engraving system comprising:
    further adapted to retain the work piece:                    30     a portable enclosure adapted to operably accommodate a
  whereby the portable enclosure is adapted to be disposed                 laser engraving device;
    on one of the portable cart and the portable base.                  the enclosure comprising an adjustment system, the adjust
  32. The portable engraving system of claim 31, wherein:                  ment system comprising four independently adjustable
  the adjustment system is adapted to adjust a distance of the             worm drives, thereby allowing adjustment of the dis
                                                                 35        tance and angle between the enclosure and a work Sur
    enclosure with respect to the work surface.                            face, whereby the enclosure is adjustable with respect to
  33. The portable engraving system of claim 31, wherein:                  the work surface;
  the adjustment system is adapted to adjust an angle of the            the enclosure further comprising an opening, wherein the
    enclosure with respect to the work surface.                            engraving device is operably positioned thereto,
  34. The portable engraving system of claim 31, wherein:        40        whereby the work Surface is accessible to the engraving
  the adjustment system comprises at least three adjustable                device therethrough;
    devices, thereby allowing adjustment of the distance and            the enclosure further comprising an exhaust system dis
    angle between the enclosure and the work Surface at                    posed on a top thereof;
    each of the at least three adjustable devices.                      a portable cart adapted to removably receive the portable
  35. The portable engraving system of claim 31, wherein:        45        enclosure, wherein the cart is adapted to be positionable
  the adjustment system comprises four independently                       over the work piece and positions the enclosure adjacent
    adjustable worm drives, thereby allowing adjustment of                 the work surface;
    the distance and angle between the enclosure and the                the cart comprising a second adjustment system compris
    work Surface.                                                         ing one or more vertically adjustable devices, the adjust
  36. The portable engraving system of claim 31, wherein:        50       able devices adapted to adjust a distance between the
  the enclosure comprises an exhaust system.                               cart and the work Surface; and
  37. The portable engraving system of claim 31, wherein:               a portable base comprising an exhaust vent, the base
  the cart comprises a second adjustment system, the second               adapted to removably receive the portable enclosure and
     adjustment system comprising one or more vertically                  further adapted to retain the work piece:
     adjustable devices, the adjustable devices adapted to       55     whereby the portable enclosure is adapted to be disposed
     adjust a distance between the cart and the work Surface.             on one of the portable cart and the portable base.
  38. A portable laser engraving system comprising:                     45. A portable engraving system comprising:
  a portable enclosure adapted to operably accommodate a                A portable enclosure adapted to operably accommodate an
     laser engraving device;                                              engraving device;
  the enclosure comprising an adjustment system, the adjust      60     the enclosure comprising an adjustment system, the adjust
     ment system comprising one or more independently                     ment system comprising one or more adjustable devices
     adjustable devices, the adjustable devices adapted to                disposed on respective one or more outside Surfaces of
     independently adjust a distance between the enclosure                the enclosure, the adjustable devices adapted to adjust a
     and a work Surface of a work piece thereby allowing                   space between the enclosure and a work surface thereby
     adjustment of the distance and angle between the enclo      65       allowing adjustment of the space between the enclosure
     sure and the work surface, whereby the enclosure is                   and the work surface;
     adjustable with respect to the work surface; and                   the enclosure further comprising an exhaust system;
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                               15                                                               16
  wherein the enclosure is positionable adjacent the work               cally adjustable devices, the adjustable devices adapted
     Surface and adjustably disposed thereto.                           to adjust a distance between the enclosure and the work
  46. The portable engraving system of claim 45, wherein:               Surface.
  The adjustment system of the enclosure is motorized and             48. The portable engraving system of claim 47, wherein:
     controlled by a controller disposed within the enclosure.   5    The second adjustment system of the cart is motorized.
  47. The portable engraving system of claim 46, further              49. The portable engraving system of claim 48, wherein:
comprising:                                                           The controller is adapted for operable connection with the
  a portable cart adapted to receive the enclosure wherein the           second adjustment system for control and operation
     cart is adapted to be positionable over the workpiece and          thereof.
     positions the enclosure relative to the work surface;       10
  the cart comprising a second adjustment system, the sec
     ond adjustment system comprising one or more verti
